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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )       No. 4:17CR00145 BSM
vs.                                           )
                                              )
EDGAR K. RIDDICK                              )

      UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO SUPRESS
                EVIDENCE OBTAINED FROM TRAFFIC STOP

       The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Kristin Bryant, Assistant United States Attorney, for its Response to Defendant’s Motion

to Suppress (Doc. No. 27), respectfully states:

                               I.      STATEMENT OF FACTS

       On February 22, 2017, LRPD Detective Amber Kalmer (Det. Kalmer) applied for, and

obtained a state search warrant for the residence of the defendant, Edgar Riddick, located at 7

Greenbrier Road, Little Rock, Arkansas 72202. The warrant was based on facts that an IP

address that returned to the defendant’s residence at 7 Greenbrier Road uploaded child

pornography on multiple dates. (Ex. 1).

       The warrant was executed on February 23, 2017. Prior to the execution of the warrant,

LRPD Detective Raymond Koonce was conducting surveillance of the defendant’s residence.

Det. Koonce observed a tan 1991 Chevrolet Suburban being driven by the defendant come down

the hill of Greenbrier Road and stop at the stop sign at Cantrell Road. At this time, detectives

were not planning on the defendant leaving his residence. Det. Koonce followed the defendant

to a Holiday Inn Express located at 3121 Bankhead Drive, Little Rock.

       While the defendant was parked in his car at the entrance of the Holiday Inn Express, an

individual later identified as Craig Koehn got in the passenger side of the defendant’s car. Det.



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Koonce pulled his vehicle behind the defendant’s, approached the vehicle while it was still

running, identified himself, and asked the defendant to step out of the car. There was not a car in

front of the defendant’s car and the defendant’s vehicle was not blocked in. Det. Koonce told the

defendant that he was going to pat him down for officer safety. Shortly thereafter, LRPD Officer

Cheree Carlton arrived in a marked LRPD car.

        Det. Koonce made contact with Mr. Koehn, who advised that he had flown in from

Houston, Texas, and had business dealings with the defendant and they were headed to Stuttgart

to investigate a fire that occurred there.

        Det. Koonce then spoke with the defendant, who was still standing outside the entrance to

the hotel, and advised the defendant that the only reason he followed him was because a search

warrant was being executed at his residence. Det. Koonce advised the defendant multiple times

that he was not under arrest. Det. Koonce asked the defendant to accompany him back to the

residence. The defendant responded that he would. Det. Koonce asked for consent to search the

defendant’s vehicle and the defendant gave verbal consent. Det. Koonce located a digital

camera, flash drive, and laptop. Det. Koonce told the defendant the items would be placed in the

LRPD vehicle and transported back to the residence with the defendant.

        The defendant asked Det. Koonce if he was under arrest and Det. Koonce responded,

“no.” The defendant asked what the search warrant concerned and Det. Koonce told him that

once he arrived back at the residence, he (the defendant) would be told. The defendant then gave

Mr. Koehn instructions on what to do in Stuttgart and released his vehicle to him (Koehn), so

that Mr. Koehn could continue to Stuttgart for the arson investigation. The defendant was then

driven to his residence in the marked LRPD police car and the evidence was turned over to

LRPD Detectives Kalmer and Hurd. At no time was the defendant ever handcuffed. The



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consensual encounter at the Holiday Inn Express lasted no longer than ten minutes.

         At the residence, the defendant signed a consent to search form for the items in the car.

(Ex. 2). The defendant was interviewed at 0825 hours on February 23, 2017. (Ex. 3, p. 001). He

waived his Miranda rights and stated he understood he could stop the interview at any time. (Ex.

3, pp. 001-007). During the interview, the defendant stated that he freely came back to the

residence and acknowledged that he was not under arrest. (Ex. 3, pp. 004). Det. Hurd told him

that he was free to leave at any time and not under arrest. (Ex. 3, pp. 004). The defendant stated

that he was there for his wife. (Ex. 3, pp. 004). The defendant further stated that he knew he

could revoke consent at any time. (Ex. 3, p. 007).

                            II.     ARGUMENT AND AUTHORITY

         “The Eighth Circuit has described three categories of police encounters: ‘(1) consensual

communications involving no coercion or restraint, (2) Terry stops—minimally intrusive

seizures significant enough to invoke the Fourth Amendment and which must be supported by

reasonable suspicion, and (3) full-scale arrests that must be supported by probable cause.’”

United States v. Flores–Sandoval, 474 F.3d 1142, 1145 (8th Cir. 2007) (citing United States v.

Johnson, 326 F.3d 1018, 1021 (8th Cir.2003). In this case, the encounter between Det. Koonce

and the defendant was a consensual encounter that did not implicate the Fourth Amendment. In

the alternative, Det. Koonce had reasonable suspicion to believe the defendant had committed a

crime.

         A.     The Fourth Amendment is not implicated because the encounter between
                Det. Koonce and the defendant was consensual.

         If an encounter is consensual, it is not a seizure because “the Fourth Amendment is not

implicated, and the officer is not prohibited from asking questions” or seeking consent to search

the vehicle. United States v. Munoz, 590 F.3d 916, 921 (8th Cir. 2010).

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       Whether an encounter is consensual depends on the facts of the case. [United States
       v. Jones, 269 F.3d 919, 925 (8th Cir. 2001)]. “A seizure does not occur simply
       because a law enforcement officer approaches an individual and asks a few
       questions or requests permission to search an area.” [United States v. Flores, 474
       F.3d 1100, 1103 (8th Cir. 2007)]. A person is seized within the meaning of the
       Fourth Amendment when, under the totality of the circumstances, “a reasonable
       person would have believed that he was not free to leave.” Jones, 269 F.3d at 925.
       Circumstances of a seizure may include “the threatening presence of several
       officers, the display of a weapon by an officer, some physical touching of the person
       of the citizen, or the use of language or tone of voice indicating that compliance
       with the officer’s request might be compelled.” Flores, 474 F.3d at 1103, quoting
       United States v. White, 81 F.3d 775, 779 (8th Cir. 1996); see also United States v.
       Nunley, 873 F.2d 182, 184-85 (8th Cir. 1989) (defendant was seized when officers'
       statements were more than routine questioning, and suggested to defendant that she
       was the particular focus of an investigation). Conversely, if a reasonable person
       feels free to “disregard the police and go about his business,” the encounter is
       consensual. Florida v. Bostick, 501 U.S. 429, 434, 111 S.Ct. 2382, 115 L.Ed.2d 389
       (1991), quoting California v. Hodari D., 499 U.S. 621, 628, 111 S.Ct. 1547, 113
       L.Ed.2d 690 (1991). “The test is necessarily imprecise, because it is designed to
       assess the coercive effect of police conduct, taken as a whole, rather than to focus
       on particular details of that conduct in isolation.” Michigan v. Chesternut, 486 U.S.
       567, 573, 108 S.Ct. 1975, 100 L.Ed.2d 565 (1988).

United States v. Munoz, 590 F.3d at 921. See also United States v. Hathcock, 103 F.3d 715, 718-

19 (8th Cir. 1997) (finding a consensual encounter where officer approached defendant, showed

him his badge, told him his name and informed him that he was with the Narcotics Unit of the

Omaha Police and wanted to ask him a few questions).

       The defendant relies on the Supreme Court’s decision in Bailey v. United States, 568 U.S.

186 (2013) for his proposition that he was detained. “In Bailey, interpreting and applying

Michigan v. Summers, 452 U.S. 692, 101 S.Ct. 2587, 69 L.Ed.2d 340 (1981), the Supreme Court

held that, once an individual has left the immediate vicinity of a premises that is being searched or

is about to be searched pursuant to a search warrant, his involuntary detention must be justified by

some rationale other than that it is incident to execution of the warrant.” United States v. Rhodes,

730 F.3d 727, 731 (8th Cir. 2013).        In Bailey, the defendant and another individual were

handcuffed and told “they were being detained incident to the execution of a search warrant.”

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Bailey, 452 U.S. at 191. Bailey responded, “I don’t live there. Anything you find there ain’t mine,

and I’m not cooperating with your investigation.” Id.

        In this case, the encounter between the defendant and Detective Koonce was consensual

and did not implicate the Fourth Amendment. First, unlike the defendant’s assertions in his motion

to suppress, there was no traffic stop. A marked LRPD unit never pulled the defendant’s vehicle

over and only arrived after Det. Koonce made contact with the defendant in the parking lot.

        During the ten-minute encounter, Det. Koonce never made any show of force, displayed a

weapon, or used language or a tone of voice indicating that compliance was required. There were

only two officers on the scene. The defendant was told on multiple occasions that he was not

under arrest and he was never handcuffed, unlike the defendant in Bailey. The defendant was

asked if he would provide consent to search his car. He later memorialized this consent at his

residence via a written form. The defendant was asked if he would accompany Det. Koonce to the

residence, to which the defendant responded that he would. The defendant allowed his co-worker

to take his vehicle so that the co-worker could continue with the planned business trip that day.

The defendant does not allege that his phone was seized. Certainly, if the defendant’s assertion

that he was not permitted to contact his wife to come pick him up are to be believed, the defendant

could have asked his co-worker to take him home. There is nothing about the encounter between

Det. Koonce and the defendant that would have made a reasonable person believe they were not

free to leave.

        B.       Law enforcement could have lawfully conducted an investigative stop because
                 there was reasonable suspicion that the defendant committed a crime.

        If this Court finds that the encounter between Det. Koonce and the defendant was not

consensual, Det. Koonce could have lawfully conducted an investigative stop based on

reasonable suspicion that the defendant had committed a crime.

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       Seizures fall into two categories - investigative stops and arrests - and there is no bright

line of demarcation between the two. United States v. Miller, 974 F.2d 953, 957 (8th Cir. 1992).

Under the Fourth Amendment, an investigative stop must only be supported by reasonable,

articulable suspicion that criminal activity is afoot, whereas an arrest must be supported by

probable cause.” Id. at 956 (citing Terry v. Ohio, 392 U.S. 1, 25–30 (1968)). Stated another

way, an investigative stop is constitutionally permissible if the officer has a reasonable suspicion,

based on articulable facts, that criminal behavior is afoot. United States v. Dixon, 51 F.3d 1376,

1381 (8th Cir. 1995) (citing United States v. Bloomfield, 40 F.3d 910, 916 (8th Cir. 1994)); see

also United States v. Bullock, 632 F.3d 1004, 1014–15 (7th Cir.2011) (holding a Terry

investigative stop is a brief detention that gives officers a chance to verify well-founded

suspicions that a person has been, is, or is about to be engaged in criminal activity). In

determining whether the investigative stop was justified by reasonable suspicion, a court must

consider the totality of the circumstances surrounding the stop in light of the officer's experience.

Id.

       During a Terry stop, officers may check for weapons and may take any additional steps

“reasonably necessary to protect their personal safety and maintain the status quo during the

course of the stop.” Miller, 974 F.2d at 957. An investigative stop must be temporary and must

last no longer than is necessary to effectuate the purpose of the stop.” Dixon, 51 F.3d at 1380.

       In this case, at a minimum, Det. Koonce had reasonable suspicion that the defendant had

engaged in criminal activity, specifically possession and distribution of child pornography. As

set forth in the search warrant, all of the Cybertips returned to an IP address registered to the

defendant at his residence. Detectives observed the defendant unexpectedly leave his residence,

and Det. Koonce followed him. Det. Koonce approached the defendant’s vehicle, lawfully



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patted him down for officer safety, and explained to him that they were executing a search

warrant at his house. Det. Koonce then asked the defendant for consent to search the vehicle

and asked the defendant if he wished to accompany him back to the residence where the search

warrant was being executed. All of this took less than ten minutes. Even if the Court finds the

encounter was consensual, the encounter was lawful as an investigative stop under Terry v. Ohio.

       C.      The defendant voluntarily consented to the search.

       As established above, the defendant was not unlawfully detained at the Holiday Inn

Express. Furthermore, his consent to search was voluntary. “A consent is voluntary if the

consenting individual had a ‘reasonable appreciation of the nature and significance of his

actions.’” United States v. Saenz, 474 F.3d 1132, 1136 (8th Cir. 2007) (citations omitted).

“Consent can be given orally or in writing, and it is not necessary to use a written consent form.”

Id. at 1136-37. “The government must prove by a preponderance of the evidence that the

consent was voluntary.” Id. at 1137.

       “To determine whether consent was given voluntarily, we examine the totality of the

circumstances.” United States v. Johnson, 619 F.3d 910, 918 (8th Cir. 2010). The Court

considers (1) the defendant’s age; (2) his general intelligence and education; (3) whether he was

intoxicated at the time; (4) whether he was informed of his Miranda rights before consenting; (5)

whether any previous arrests would have informed him of his rights and protections; (6) the

length of time he was detained; (7) whether the officers acted in a threatening manner; (8)

whether the police made any promises or misrepresentations; (9) whether the police had the

defendant in custody or under arrest at the time; (10) whether he consented in public; and (11)

whether the defendant was silent during the search. Id. at 918.




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       In this case, the defendant is a 56-year-old educated man. According to his business

website, Riddick Engineering Corporation, the defendant is the CEO “with decades of

experience in investigations, design, construction, compliance, and multi-discipline

investigations,” and “he brings a wealth of problem solving tools to any design or investigation.”

(Ex. 4). There is no evidence that he was intoxicated at the time he gave consent. The defendant

was not Mirandized at the Holiday Inn Express because he was told multiple times he was not

under arrest. The defendant does not have any previous arrests. While the defendant was never

detained, the encounter with Det. Koonce took no more than ten minutes.         The defendant was

not in custody or under arrest. The defendant provided consent to search his vehicle in the

parking lot of the Holiday Inn Express, and when he asked where officers were going to take the

items seized from the vehicle, he was told they would be going back to the residence. He later

signed a written consent to search form, and acknowledged post-Miranda that he could revoke

his consent at any time. The consent to search was voluntary.

       D.      Application of the exclusionary rule is not appropriate under the attenuation
               doctrine.

       Even if the Court finds the defendant was illegally detained, suppression is not warranted

under the attenuation doctrine. The attenuation doctrine is an established exception to the

exclusionary rule. United States v. Dickson, 64 F.3d 409, 410 (8th Cir. 1995). The Eighth

Circuit has held that some intervening voluntary acts on the part of a defendant, such as

consenting to a search, may be sufficient to purge the taint of an illegality. See, e.g., id. at 410-

11; United States v. Ramos, 42 F.3d 1160, 1163-64 (8th Cir. 1994) (overruled on other grounds).

The factors to be considered in determining whether the taint is purged are: “(1) the temporal

proximity between the illegal search or seizure and the consent; (2) the presence of intervening




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circumstances; and (3) the purpose and flagrancy of the official misconduct.” United States v.

Becker, 333 F.3d 858, 862 (8th Cir. 2003).

                       1.      Vehicle Search

       The Eighth Circuit “has found consent given a short time after the stop [was] sufficient to

purge the taint if other circumstances indicate the consent was sufficiently an act of free will.”

United States v. Esquivel, 507 F.3d 1154, 1160 (8th Cir. 2007) (citing United States v. Herrera–

Gonzalez, 474 F.3d 1105, 1112 (8th Cir.2007); United States v. Palacios–Suarez, 149 F.3d 770,

772 (8th Cir.1998) (holding that consent was sufficiently an act of free will to purge the taint of

the initial stop where the officer asked the defendant several times if he could search the vehicle

nine minutes after the initial stop); Ramos, 42 F.3d at 1164 (finding consent sufficient to purge

the taint where the arrest and consent were “close in time”)). As set forth above, the defendant

voluntarily consented to a search of his vehicle. At his residence, the defendant provided written

consent to search the items. (Ex. 2). See Ramos, 42 F.3d at 1163-64 (holding that the

defendant’s voluntarily signing the consent form was sufficiently an act of free will to purge the

taint of the preceding illegal detention and finding the evidence discovered by the consented-to

search was admissible). He even confirmed during his interview, post-Miranda, that he could

revoke his consent.

       The defendant asserts in his Motion that he was stopped 20 to 30 minutes from his

residence. (Doc. No. 27). Under Eighth Circuit precedent, fifteen minutes is sufficient to

demonstrate an attenuation of any illegality. United States v. Whisenton, 765 F.3d 938, 942 (8th

Cir. 2014). See also United States v. Herrera-Gonzalez, 474 F.3d 1105, 1112 (8th Cir. 2007)

(finding that while ten minutes does not in itself suggest sufficient attenuation to purge the taint

of the stop, neither does it compel the conclusion that the attenuation was insufficient).



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        Here, law enforcement did not act in bad faith. Herrera-Gonzalez, 474 F.3d at 1113 n.5

(noting that the Eighth Circuit has found consent sufficient to purge a taint even in the absence of

intervening circumstances where the circumstances suggest that the officer was not trying to

exploit an illegal situation and his conduct was in good faith) (citing cases). It is clear that law

enforcement was not attempting to exploit an illegal situation and believed that they acted in

accordance with the law.

                        2.      Post-Miranda Statement

        As discussed above, the defendant was never detained, and even if the Court determines

he was detained, such detention was lawful. Nevertheless, if the Court determines that the

defendant was illegally detained, the defendant’s statement was attenuated from any illegal

detention.

        The defendant cites Brown v. Illinois, for his proposition that the defendant’s post-

Miranda interview was the product of an illegal detention. “In Brown, the Court held that, to

determine whether the causal connection between incriminating statements and an arrest or

search that violated the Fourth Amendment has been broken, Miranda warnings—which protect

Fifth Amendment rights—are relevant but other factors must be considered—the ‘temporal

proximity’ of the unconstitutional conduct and the statements, the ‘presence of intervening

circumstances,’ and ‘particularly, the purpose and flagrancy of the official misconduct.’” United

States v. Yorgensen, 845 F.3d 908, 914 (8th Cir.), cert. denied, 138 S. Ct. 89, 199 L. Ed. 2d 57

(2017). “Providing Miranda warnings is an ‘important, although not dispositive,’ factor that

weighs against suppression . . .” Id. “Persons arrested illegally frequently may decide to

confess, as an act of free will unaffected by the initial illegality.” Id.




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       As to the temporal proximity factor, as discussed above, the Eighth Circuit has found that

15 minutes was sufficient to demonstrate an attenuation of any illegality. Whisenton, 765 F.3d at

942. The defendant had time to contemplate his situation. United States v. Reisselman, 646 F.3d

1072, 1081 (8th Cir. 2011) (upholding the district court’s denial of a motion to suppress

statements under the attenuation doctrine where defendant post-Miranda voluntarily provided

incriminating statements fifteen to twenty minutes after an unlawful search of his person). As to

the presence of intervening circumstances, the defendant voluntarily consented to a search of his

vehicle and was advised of his Miranda rights prior to his interview at his residence. The

defendant, by his own choice, chose to return to his residence. He was transported from the

Holiday Inn Express in an LRPD car because he chose to release his vehicle to his co-worker so

that co-worker could attend a business meeting. When the defendant returned to the residence,

he spoke with Detectives Kalmer and Hurd. The defendant was read his Miranda warnings and

told that he could stop the interview at any time. The defendant also confirmed that he freely

came back to the house and was told at the Holiday Inn, as well as his residence, that he was not

under arrest. Based on these facts, it is clear there was no flagrant official misconduct and that

the defendant’s waiver of his Miranda warnings was not the product of any illegal detention.

       Finally, even if the Court finds a Fourth Amendment violation, application of the

exclusionary rule would not result in appreciable deterrence.

       “[T]he Fourth Amendment contains no provision expressly precluding the use of
       evidence obtained in violation of its commands.” Arizona v. Evans, 514 U.S. 1, 10,
       115 S.Ct. 1185, 131 L.Ed.2d 34 (1995). Rather, exclusion of evidence is “a
       judicially created rule ... ‘designed to safeguard Fourth Amendment rights
       generally through its deterrent effect.’ ” Herring, 129 S.Ct. at 699 (quoting United
       States v. Calandra, 414 U.S. 338, 348, 94 S.Ct. 613, 38 L.Ed.2d 561 (1974)).
       “Indeed, exclusion has always been our last resort, not our first impulse, and
       [Supreme Court] precedents establish important principles that constrain
       application of the exclusionary rule.” Id. at 700 (internal citations and quotation
       marks omitted).

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          As a judicially-created remedy, the exclusionary rule applies only where “its
          remedial objectives are thought most efficaciously served.” Evans, 514 U.S. at 11,
          115 S.Ct. 1185. The exclusionary rule is not an individual right, but it “applies only
          where it ‘results in appreciable deterrence.’ ” Herring, 129 S.Ct. at 700 (quoting
          United States v. Leon, 468 U.S. 897, 909, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984))
          (emphasis added) (some internal marks omitted); see also Penn. Bd. of Probation
          & Parole v. Scott, 524 U.S. 357, 368, 118 S.Ct. 2014, 141 L.Ed.2d 344 (1998) (“We
          have never suggested that the exclusionary rule must apply in every circumstance
          in which it might provide marginal deterrence.”). The Court also balances the
          benefits of deterrence against the costs of excluding the evidence, particularly the
          social costs of “letting guilty and possibly dangerous defendants go free—
          something that ‘offends basic concepts of the criminal justice system.’ ” Herring,
          129 S.Ct. at 701 (quoting Leon, 468 U.S. at 908, 104 S.Ct. 3405). Finally, the
          Supreme Court includes “an assessment of the flagrancy of the police misconduct”
          in its calculus of whether the exclusionary rule should be applied. Id. (internal
          marks omitted).

United States v. Hamilton, 591 F.3d 1017, 1027–28 (8th Cir. 2010).

          The law enforcement officers involved in this investigation had no reason to believe that

they acted in violation of the Fourth Amendment. They acted in good faith. Suppression would

undermine the truth-seeking function of the judicial system. Therefore, the motion should be

denied.

                                        III.    CONCLUSION

          As discussed above, the encounter between Det. Koonce and the defendant was

consensual,and alternatively, law enforcement had reasonable suspicion. The defendant

voluntarily consented to the search of his vehicle and voluntarily made statements post-Miranda.

Suppression is not appropriate under the attenuation doctrine, and under these circumstances,

suppression would not further the stated purpose of the exclusionary rule.

          WHEREFORE, the United States respectfully requests that the defendant’s Motion to

Suppress be denied.




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                                              Respectfully submitted,

                                              Cody Hiland
                                              United States Attorney


                                              /s/ Kristin Bryant________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of November, 2018, I filed the foregoing with the Clerk
of the Court and provided a copy to defense counsel.

                                              /s/ Kristin Bryant________
                                              KRISTIN BRYANT




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